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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 SHANELLE JENKINS, as                            §
 surviving spouse, and                           §
 Representative of the Estate of                 §
 ROBERT GERON MILLER                             §
                                                 §
        Plaintiff,                               §
 v.                                              §
                                                 §
                                                          CIVIL ACTION NO. 4:23-cv-1207
 OFFICER MICHAEL                                 §
 TAHMAHKERA, OFFICER                             §
 JORDAN BEENE, OFFICER                           §
 JASON WHEELER, OFFICER                          §
 E. KAUTZ, OFFICER S.                            §
 JAMES, OFFICER MICHAEL                          §
 SWAN, NURSE BJ                                  §
 ODONNELL, NURSE SHARON                          §
 SINGLETON, and SERGEANT                         §
 SHELDON KELSEY                                  §
                                                 §
        Defendants.                              §

                            PLAINTIFF’S NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Shanelle Jenkins, as surviving spouse and

Representative of the Estate of Robert Geron Miller, hereby appeals to the United States Court of

Appeals for the Fifth Circuit from the July 9, 2024 Memorandum Opinion (Dkt. No. 44) and Final

Judgment Order (Dkt. No. 45) issued by the District Court of the Northern District of Texas Fort

Worth Division granting Defendants’ Motions to Dismiss, thereby dismissing Plaintiff’s claims

against Defendants with prejudice.

Dated August 8, 2024                                 Respectfully submitted,

                                                     /s/ David W. Henderson
                                                     David W. Henderson
                                                     Texas State Bar No. 24032292
                                                     dhenderson@equalrights.law
                                                     Jay D. Ellwanger
                                                     Texas State Bar No. 24036522
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                                                     jellwanger@equalrights.law
                                                     Ellwanger Henderson LLLP
                                                     400 S Zang Blvd, Suite 600
                                                     Dallas, Texas 75208
                                                     Telephone: (214) 948-3334
                                                     Facsimile: (214) 853-9410

                                                     COUNSEL FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

        I hereby certify that on the day of August 8, 2024, a true and correct copy of the above and
the foregoing document was served on all counsel of record via the Court’s ECF system.

                                                     /s/ David W. Henderson
                                                     David W. Henderson




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